Case 2:20-cv-01309-MJP Document 86-3 Filed 08/14/24 Page 1 of 2

Exhibit C
Case 2:20-cv-01309-MJP Document 86-3 Filed 08/14/24 Page 2 of 2

NATIONAL SECURITY AGENCY
FORT GEORGE G, MEADE, MARYLAND 20755-6000

FOIA Case: 106371
14 March 2019

MUCKROCK NEWS
DEPT MR 69086

411A HIGHLAND AVE
SOMERVILLE MA 02144

Dear Ms. Kinnucan:

This is an interim response to your Freedom of Information Act (FOIA) request
dated 18 February 2019, which was received by this office on
19 February 2019, for “both volumes I and II of "A Report to the Committee on
Appropriations - U.S. House of Representatives on the Effectiveness of the Worldwide
Communications Systems and Networks of the DoD, U.S.S. Liberty Incident." This
letter acknowledges that we have received your request and provides some
administrative information. As previously stated, your request has been assigned
Case Number 106371. .

We have completed our search for records responsive to your request. The
material responsive to your request requires review prior to release and has been
placed in the first-in, first-out processing backlog queue. Please be aware, there are
a significant number of cases ahead of yours in the backlog queue. We appreciate
your patience with our efforts to treat all requesters fairly by responding to each on a
“first-in, first-out” basis.

Correspondence related to your request should include the case number
assigned to your request, which is included in the first paragraph of this letter. Your
letter should be addressed to National Security Agency, FOIA Office (P132), 9800
Savage Road STE 6932, Ft. George G. Meade, MD 20755-6932 or may be sent by
facsimile to 443-479-3612. If sent by fax, it should be marked for the attention of
the FOIA office. The telephone number of the FOIA office is 301-688-6527.

Sincerely,

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JOHN R. CHAPMAN
Chief
FOIA/PA Office
